Case 1:23-cr-00210-RDB Document 7 Filed 08/03/23 Page 1 of 2

TIMGRE IN THE UNITED STATES DISTRICT COURT
2) FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA, *

Plaintiff, =

Criminal No. 8:23-cr-00210-RDB

Vv. *
DAVID EPSTEIN *

Defendant.
* * * * * * * * * * * * *

ENTRY OF APPEARANCE

Please enter the appearance of Robert B. Schulman, Richard Bardos and Schulman,
Hershfield & Gilden, P.A. as counsel for Defendant David Epstein in the above-captioned matter.
Dated: August 3, 2023 Respectfully submitted,

/s/ Robert B. Schulman, Esq.

Robert B. Schulman, Fed. Bar No. 00068
RBS@shg-legal.com

Richard Bardos, Fed Bar No. 01559
rbardos@shg-legal.com

Schulman, Hershfield & Gilden, P.A.
One East Pratt Street, Suite 904
Baltimore, Maryland 21202

Tel: (410) 332-0850

Fax: (410) 332-0866

Case 1:23-cr-00210-RDB Document 7 Filed 08/03/23 Page 2 of 2

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 3rd day of August, 2023, the foregoing Entry of

Appearance was filed and served, using the ECF filing system, upon:
Erek L. Barron, Esquire
United States Attorney

36 S. Charles Street
Baltimore, MD 20201

/s/ Robert B. Schulman, Esq.

